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Attachment B
OP-040204
Page 1 of 3

Refused Loring

SEGREGATION HOUSING ORDER

SECTION A - Placement

Name of Facility _NFCC Facility Code 45 Date Q92-d0
Offender Name 1 ODOC Register Number \loaS 3
Medical Notified (immediate upon placement Soc i. ‘ |

iate upon placement) Ka 43330, ony

IL. Placement in Segregation/Short Term Administrative Segregation (insert date on appropriate line)

 

Pre-hearing Detention Disciplinary Detention
Transit Detention Medical Observation
~ Admin, Segregation
(Pending transfer to fae
OSP/MBCC)

Pending Investigation

- a
Il. Placement for: Protective Measures ) Protective Custody

[| Offender has requested placement into protective measures/custody

 

MS, Clrequest special housing placement for my own protection ») Michael) Swhew

Offender Signature

[| Offender has not requested placement into protective measures/custody, but a real
And serious threat exists against this offender.

 

[| | request removal from protective measures/custody.
Offender Signature

Offender given a copy of this form on: Date Q-98 ox 5 Time 3: CO (a.m qr p.m )
CHA Spiteor Date 4-03-30
Appraving Authority

SECTION B- REVIEWS

72 Hour Review

 

 

Reviewing Authority (Name, Title, Date)

Additional,Reviews: Attach Classification team documents or other reports for determining
Continued confinement/release

Date of Release: ic (0) | , ‘

Approving Authority

 

Original Facility Head — Field
1% Copy: Offender
2™ Copy: Shift Supervisor of SHU
